Case 2:02-cr-20168-SH|\/| Document 110 Filed 07/14/05 Page 1 of 2 Page|D 109

IN THE UNITED STATES DISTRICT COURT FaE
FOR THE WESTERN DISTRICT OF TENNESSEE ' BY """
WESTERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,

DETROIT BOYD,

`i\-fvv`d\-IV\J`-¢

Defendant.

 

ORDER DIRECTING CLER.K'. TO ISSUE WR.IT OF HABEAS CORPUS

 

This matter' is set for a re-sentencing hearing on
Frida'_gl August 26z 2005 at 11:30 a.m. The defendant, Detroit Boyd,
#18391-076, is confined as a prisoner at U.S. Penitentiary, Terre
Haute, Indiana. It is necessary to have Detroit Boyd appear in this
court for the hearing.

IT IS THEREFO§E ORDERED that the Clerk of Court issue a writ of
habeas corpus ad testificandum to the United States Marshal for the
Western District of Tennessee, and to the Warden, U.S. Penitentiary,
Terre Haute, Indiana, to have said Detroit Boyd before this court for

the hearing.

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SAMJEL H. MA'YS, JR.
UNITED STATES DISTRICT JUDGE

 

July tul , 2005.

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Honorable Samuel Mays
US DISTRICT COURT

